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Court Conference                                                                                        U.S. Bankruptcy Court-District of Delaware
           Calendar Date:              10/08/2020                                                      Confirmed Telephonic Appearance Schedule
           Calendar Time:              02:00 PM ET
                                                                                                                                       Honorable John T. Dorsey
                                                                                                                                                     Courtroom
                                                                                                                                             Amended Calendar Oct 8 2020 11:07AM

 Page #       Item #    Case Name        Case #       Proceeding          App ID Appearing              Telephone       Firm Name                          Representing
                        RTI Holding      20-12456     Hearing            10896852   Nova A.             (212)           Ropes & Gray LLP                   Interested Party, Nova
                        Company, LLC                                                Alindogan           596-9840 ext.                                      A. Alindogan / LISTEN
                                                                                                                                                           ONLY
                        RTI Holding      20-12456     Hearing            10895975   Evan Bartlett       (646)           FocalPoint, LLC                    Interested Party, Evan
                        Company, LLC                                                                    492-5794 ext.                                      Bartlett / LISTEN ONLY
                        RTI Holding      20-12456     Hearing            10894753   Jason B. Binford    (512)           State of Texas - Office of the     Interested Party, State
                        Company, LLC                                                                    475-4936 ext.   Attorney General -Bankruptcy &     Of Texas / LIVE
                                                                                                                        Collections Div.Only
                        RTI Holding      20-12456     Hearing            10895970   Alex Borema         (800)           CR3 Partners LLC                   Interested Party, Alex
                        Company, LLC                                                                    782-7176 ext.                                      Borema / LISTEN ONLY
                        RTI Holding      20-12456     Hearing            10896161   David Canas         (615)           Thompson Burton PLLC               Creditor, Amnon
                        Company, LLC                                                                    465-6000 ext.                                      Shreibman / LISTEN
                                                                                                                                                           ONLY
                        RTI Holding      20-12456     Hearing            10895588   Daniel M. Cole      (302)           Williams Law P.A.                  Other Prof., Daniel M.
                        Company, LLC                                                                    575-0873 ext.                                      Cole (Student) / LISTEN
                                                                                                                                                           ONLY
                        RTI Holding      20-12456     Hearing            10895971   Matthew             (312)           FocalPoint Securities, LLC         Interested Party,
                        Company, LLC                                                Cumbee              401-5255 ext.                                      Matthew Cumbee /
                                                                                                                                                           LISTEN ONLY
                        RTI Holding      20-12456     Hearing            10894869   Jeffrey W.          (310)           Pachulski Stang Ziehl & Jones      Debtor, RTI Holding
                        Company, LLC                                                Dulberg             772-2355 ext.                                      Company, LLC / LISTEN
                                                                                                                                                           ONLY
                        RTI Holding      20-12456     Hearing            10894257   Katharina Earle     (302)           Ashby & Geddes                     Interested Party, TCW
                        Company, LLC                                                                    654-1888 ext.                                      Direct Lending / LIVE
                        RTI Holding      20-12456     Hearing            10896844   Brian Esser         (865)           Ruby Tuesday, Inc.                 Participant, Brian Esser /
                        Company, LLC                                                                    380-7638 ext.                                      LISTEN ONLY
                        RTI Holding      20-12456     Hearing            10896823   David Geiger        (404)           Geiger Law LLC                     Creditor, Quadre
                        Company, LLC                                                                    815-0040 ext.                                      Investments LP / LIVE
                        RTI Holding      20-12456     Hearing            10896262   Alessandra          (302)           Dorsey & Whitney LLP               Creditor, Confidential /
                        Company, LLC                                                Glorioso            425-7171 ext.                                      LIVE
                        RTI Holding      20-12456     Hearing            10894256   Aaron M.            (213)           Paul Hastings LLP                  Interested Party, TCW
                        Company, LLC                                                Gober-Sims          683-6151 ext.                                      Direct Lending / LIVE
                        RTI Holding      20-12456     Hearing            10895969   Sugi Hadiwijaya     (214)           CR3 Partners LLC                   Interested Party, Sugi
                        Company, LLC                                                                    551-5742 ext.                                      Hadiwijaya / LISTEN
                                                                                                                                                           ONLY


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                        RTI Holding    20-12456   Case   20-12456-JTD
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                                                                        10895935      C.   10/08/20
                                                                                               (302)          Page Ballard
                                                                                                                   2 of 4Spahr LLP                        Creditor, Brixmor
                        Company, LLC                                               Heilman            252-4446 ext.                                       Operating Partnership
                                                                                                                                                          LP and Federal Realty
                                                                                                                                                          Investment Trust / LIVE
                        RTI Holding    20-12456    Hearing              10896008   Adam Hiller        (302)           Hiller Law                          Unknown - Update,
                        Company, LLC                                                                  442-7677 ext.                                       Supervising law
                                                                                                                                                          students / LISTEN
                                                                                                                                                          ONLY
                        RTI Holding    20-12456    Hearing              10896177   James A.           (865)           Holifield Janich & Ferrera, PLLC    Debtor, RTI Holdings
                        Company, LLC                                               Holifield          566-0115 ext.                                       Company, LLC / LIVE
                        RTI Holding    20-12456    Hearing              10896151   Ryan Jornlin       (302)           Ryan Jornlin - In Pro Per/Pro Se    Interested Party, Ryan
                        Company, LLC                                                                  575-0873 ext.                                       Jornlin / LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10896100   Jeffrey Kaplan     (201)           CRG Financial LLC                   Consultant, CRG
                        Company, LLC                                                                  627-8142 ext.                                       Financial LLC / LISTEN
                                                                                                                                                          ONLY
                        RTI Holding    20-12456    Hearing              10896246   Susan E.           (302)           Law Office of Susan E. Kaufman,     Claimant, Simon
                        Company, LLC                                               Kaufman            472-7420 ext.   LLC                                 Property Group, Inc. /
                                                                                                                                                          LIVE
                        RTI Holding    20-12456    Hearing              10894913   Shawn              (865)           Ruby Tuesday, Inc.                  Client, Shawn Lederman
                        Company, LLC                                               Lederman           379-5700 ext.                                       / LIVE
                        RTI Holding    20-12456    Hearing              10894687   Jason S Levin      (302)           Morris James LLP                    Interested Party, Jason
                        Company, LLC                                                                  888-6800 ext.                                       S Levin / LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10894858   Maxim B. Litvak    (415)           Pachulski Stang Ziehl & Jones       Debtor, RTI Holding
                        Company, LLC                                                                  217-5110 ext.                                       Company, LLC / LIVE
                        RTI Holding    20-12456    Hearing              10896182   Kelly Mann         (865)           Holifield Janich & Ferrera, PLLC    Debtor, RTI Holdings
                        Company, LLC                                                                  566-0115 ext.                                       Company, LLC / LIVE
                        RTI Holding    20-12456    Hearing              10894902   Stephanie          (865)           Ruby Tuesday, Inc.                  Client, Stephanie
                        Company, LLC                                               Medley             380-7638 ext.                                       Medley / LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10896046   Rachel B.          (302)           Monzack Mersky Browder &            Creditor, Cafaro and
                        Company, LLC                                               Mersky             656-8162 ext.   Hochman PA                          Kimco / LIVE
                        RTI Holding    20-12456    Hearing              10895270   Robert W Miller    (615)           Manier & Herod                      Creditor, Liberty Mutual
                        Company, LLC                                                                  742-9372 ext.                                       Insurance Company /
                                                                                                                                                          LIVE
                        RTI Holding    20-12456    Hearing              10895926   Christopher        (215)           State of Pennsylvania - Office of   Objector,
                        Company, LLC                                               Momjian            560-2425 ext.   Attorney General                    Commonwealth of
                                                                                                                                                          Pennsylvania, Office of
                                                                                                                                                          Attorney General / LIVE
                        RTI Holding    20-12456    Hearing              10894921   Richard NeJame     (646)           FocalPoint, LLC                     Interested Party,
                        Company, LLC                                                                  343-9849 ext.                                       Advisor/Investment
                                                                                                                                                          Banker, Richard
                                                                                                                                                          NeJame / LIVE
                        RTI Holding    20-12456    Hearing              10896181   Sean O'Neal        (212)           Cleary Gottlieb Steen & Hamilton    Creditor, Goldman
                        Company, LLC                                                                  225-2773 ext.   LLP                                 Sachs / LIVE
                        RTI Holding    20-12456    Hearing              10894835   James E. O'Neill   (302)           Pachulski Stang Ziehl & Jones       Debtor, RTI Holding
                        Company, LLC                                                                  652-4100 ext.                                       Company, LLC / LIVE
                        RTI Holding    20-12456    Hearing              10894839   Richard            (310)           Pachulski Stang Ziehl & Jones       Debtor, RTI Holding
                        Company, LLC                                               Pachulski          277-6910 ext.                                       Company, LLC / LIVE
                        RTI Holding    20-12456    Hearing              10894861   Malhar S. Pagay    (310)           Pachulski Stang Ziehl & Jones       Debtor, RTI Holding
                        Company, LLC                                                                  772-2335 ext.                                       Company, LLC / LIVE
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                        RTI Holding    20-12456   Case   20-12456-JTD
                                                   Hearing               Doc 67Cassandra
                                                                        10895006   Filed 10/08/20
                                                                                             (212)             Page Kelley
                                                                                                                    3 of Drye
                                                                                                                           4 & Warren LLP                 Creditor, National Retail
                        Company, LLC                                               Postighone          808-7800 ext.                                      Properties / LIVE
                        RTI Holding    20-12456    Hearing              10896189   Amanda Quick        (317)           Indiana Attorney General           Objector, State of
                        Company, LLC                                                                   232-6321 ext.                                      Indiana / LIVE
                        RTI Holding    20-12456    Hearing              10896184   Philip S. Ratner    (212)           Paul Hastings LLP                  Interested Party, TCW
                        Company, LLC                                                                   318-6014 ext.                                      Direct Lending / LIVE
                        RTI Holding    20-12456    Hearing              10894255   Justin E. Rawlins   (213)           Paul Hastings LLP                  Interested Party, TCW
                        Company, LLC                                                                   683-6130 ext.                                      Direct Lending / LIVE
                        RTI Holding    20-12456    Hearing              10895956   Linda               (302)           Office of the United States        U.S. Trustee, Linda
                        Company, LLC                                               Richenderfer        573-6491 ext.   Trustee                            Richenderfer / LIVE
                        RTI Holding    20-12456    Hearing              10894520   Maura Russell       (212)           Montgomery, McCracken, Walker      Other Prof., Montgomery
                        Company, LLC                                                                   551-7755 ext.   & Rhoads, LLP                      McCracken / LISTEN
                                                                                                                                                          ONLY
                        RTI Holding    20-12456    Hearing              10895054   Katherine           (602)           Ballard Spahr LLP                  Bankruptcy Counsel,
                        Company, LLC                                               Sanchez             798-5400 ext.                                      STORE Capital / LIVE
                                                                                                       5422
                        RTI Holding    20-12456    Hearing              10896149   Edward L.           (212)           Montgomery, McCracken, Walker      Interested Party, Self /
                        Company, LLC                                               Schnitzer           551-7781 ext.   & Rhoads, LLP                      LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10896873   Joel Schraw         (231)           Schraw & Associates                Trustee, The Marshal
                        Company, LLC                                                                   582-2252 ext.                                      Family Trust / LISTEN
                                                                                                                                                          ONLY
                        RTI Holding    20-12456    Hearing              10895905   Samuel E. Star      (212)           FTI Consulting, Inc.               Interested Party, Samuel
                        Company, LLC                                                                   841-9368 ext.                                      Star / LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10894589   Jessica             (212)           Reorg Research, Inc.               Interested Party, Reorg
                        Company, LLC                                               Steinhagen          588-8890 ext.                                      Research, Inc. / LISTEN
                                                                                                                                                          ONLY
                        RTI Holding    20-12456    Hearing              10896423   Vincent F.          (302)           Law 360                            Media, Law360 /
                        Company, LLC                                               Sullivan            437-5542 ext.                                      LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10894258   Gregory A.          (302)           Ashby & Geddes                     Interested Party, TCW
                        Company, LLC                                               Taylor              654-1888 ext.                                      Direct Lending / LIVE
                        RTI Holding    20-12456    Hearing              10895974   Benjamin            (646)           FocalPoint, LLC                    Interested Party,
                        Company, LLC                                               Tennenbaum          492-5794 ext.                                      Benjamin Tennenbaum /
                                                                                                                                                          LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10895968   David Tiffany       (602)           CR3 Partners LLC                   Interested Party, David
                        Company, LLC                                                                   799-7397 ext.                                      Tiffany / LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10896733   Kathryn Tran        (714)           Kathryn Tran - In Pro Per/Pro Se   Debtor, Epiq Corporate
                        Company, LLC                                                                   394-6998 ext.                                      Restructuring / LIVE
                        RTI Holding    20-12456    Hearing              10896187   Jane VanLare        (212)           Cleary Gottlieb Steen & Hamilton   Creditor, Goldman
                        Company, LLC                                                                   225-2872 ext.   LLP                                Sachs / LIVE
                        RTI Holding    20-12456    Hearing              10896169   Michael D.          (212)           Cleary Gottlieb Steen & Hamilton   Creditor, Goldman
                        Company, LLC                                               Weinberg            225-2856 ext.   LLP                                Sachs / LISTEN ONLY
                        RTI Holding    20-12456    Hearing              10895973   Robert J.           (310)           FocalPoint, LLC                    Interested Party, Robert
                        Company, LLC                                               Woolway             405-7080 ext.                                      J. Woolway / LISTEN
                                                                                                                                                          ONLY
                        RTI Holding    20-12456    Hearing              10896201   Becky A. Yerak      (312)           Wall Street Journal                Interested Party, Wall
                        Company, LLC                                                                   543-1306 ext.                                      Street Journal / LISTEN
                                                                                                                                                          ONLY


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                        RTI Holding    20-12457   Case   20-12456-JTD
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                                                                                    E. Allinson (302)   Page Sullivan
                                                                                                             4 of 4Hazeltine Allinson, LLC   Creditor, PACA
                        Company, LLC                                                            428-8191 ext.                                Creditors / LIVE




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